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AO 442 (Rev 01/09) Arrest Warrant

UNITED STATES DISTRICT COURT
for the

District of Columbia

Unifed States of America
v. )
Se Case No. 20-cr-278 (TNM)
)
)
Defendant
ARREST WARRANT

To: Any authorized law enforcement officer

YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay

fname of person to be arrested) KEITH BERMAN ,
who is accused of an offense or violation based on the following document filed with the court:

© Indictment © Superseding Indictment O Information © Superseding Information © Complaint

©) Probation Violation Petition O Supervised Release Violation Petition OViolation Notice Mf Order of the Court

This offense is briefly described as follows:
No bond arrest warrant, Defendant violated Court-ordered conditions of release.

Date: 03/13/2023 ©

issuing officer's signature

City and state: © Washington, DC M. Chaclan, Courtroom Deputy

Printed name and title

Return

rrested on (date) WZ /Z, 027)

This warrant was received on (dater MAP /5, 202, , and the person
at (city and state) LO Bre al “6. fe .
as /

/ Vf
Date: Cb E dap if - a

Arresting officer's signature

TZ abd (Ud 5y

Printed name and title

